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                    Exhibit A
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                                                                                 FILED
                                                                                 01-09-2023
                                                                                 Clerk of Circuit Court
                                                                                 La Crosse County WI
                                                                                 2023CV000008
                                                                                 Honorable Scott L Horne
                                                                                 Branch 4



STATE OF WISCONSIN                   CIRCUIT COURT             LA CROSSE COUNTY


Jimmie Hubert and
Janel Hubert
W2348 Davis Road
West Salem, WI 54669

                      Plaintiffs                       Case No.:
                                                       Case Code: 30101                                    !

State Farm Mutual Automobile Insurance Company
Registered Agent: Corporation Service Company
8040 Excelsior Drive, Suite 400
Madison, WI 53717

and

BlueCross BlueShield of Illinois
3200 Robbins Road
Springfield, IL 62704

                      Involuntary Plaintiffs

v.

Jordan Walber
21 County Road ZZ S
Amherst Junction, WI 54407

Penske Leasing and Rental Company
1420 W Main Avenue
De Pere, WI 54115

Old Republic Insurance Company
Registered Agent: Old Republic Surety Company
445 S Moorland Road, Suite 301
Brookfield, WI 53005

and




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ABC Insurance Company

                         Defendants.


                                             SUMMONS



          THE STATE OF WISCONSIN, to each person named above as a defendant:

          You are hereby notified that the plaintiffs named above have filed a lawsuit or other legal

action against you. The Complaint, which is attached, states the nature and basis of the legal

action.

          Within 45 days of receiving this Summons, you must respond with a written answer, as

that term is used in Chapter 802 of the Wisconsin Statutes, to the Complaint. The Court may

reject or disregard an Answer that does not follow the requirements of the statutes. The Answer

must be sent or delivered to the Court whose address is Clerk of Circuit Court & LEC, 333 Vine

Street, La Crosse, Wisconsin 54601, and to FITZPATRICK, SKEMP & BUTLER, LLC,

plaintiffs’ attorneys whose address is 1123 Riders Club Road, Onalaska, Wisconsin 54650. You

may have an attorney help or represent you.

          If you do not provide a proper Answer within 45 days, the Court may grant judgment

against you for the award of money or other legal action requested in the Complaint and you may

lose your right to object to anything that is or may be incorrect in the Complaint, A judgment

may be enforced as provided by law. A judgment awarding money may become a lien against

any real estate you own now or in the future and may be enforced by garnishment or seizure of

property.




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  Dated this^ day of January, 2023.




                              FITZPAT             1KEMP & BUTLER, LLC
                              A Ltorncy s/o&L’l^mti.




                              William (Sr     :mp
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                              Onalaska, WI 54650
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                              bill@fitzpatrickskemp.com




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STATE OF WISCONSIN                    CIRCUIT COURT              LA CROSSE COUNTY


Jimmie Hubert and
Janel Hubert
W2348 Davis Road
West Salem, WI 54669

                       Plaintiffs                        Case No.:
                                                         Case Code: 30101

State Farm Mutual Automobile Insurance Company
Registered Agent: Corporation Service Company
8040 Excelsior Drive, Suite 400
Madison, WI 53717

and

BlueCross BlueShield of Illinois
3200 Robbins Road
Springfield, IL 62704

                       Involuntary Plaintiffs

v.

Jordan Walber
21 County Road ZZ S
Amherst Junction, WI 54407

Penske Leasing and Rental Company
1420 W Main Avenue
De Pere, WI 54115

Old Republic Insurance Company
Registered Agent: Old Republic Surety Company
445 S Moorland Road, Suite 301
Brookfield, WI 53005

and

ABC Insurance Company


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                                                                                          La Crosse County WI
                                                                                          2023CV000008
                       Defendants.                                                        Honorable Scott L Horne
                                                                                          Branch 4


                                          COMPLAINT


       Now come the plaintiffs, by their attorneys, FITZPATRICK, SKEMP & BUTLER, LLC,
by William G. Skemp, and for their complaint states as follows:

                                  GENERAL ALLEGATIONS

       1.      Plaintiffs, Jimmie Hubert and Janel Hubert, are adult individuals currently
residing at W2348 Davis Road, West Salem, La Crosse County, Wisconsin 54669.

       2.      Involuntary Plaintiff, State Farm Mutual Automobile Insurance Company, a
foreign insurance company, may have made certain payments on behalf of the Plaintiffs in
regards to medical and hospital expenses incurred as a result of the incident hereinafter
described. State Farm Mutual Automobile Insurance Company may claim a subrogated interest
in this action and is joined as an Involuntary Plaintiff in this matter for purposes of addressing
the same.

       3.      Involuntary Plaintiff, BlueCross BlueShield of Illinois, a foreign insurance
company, may have mad certain payments on behalf of the Plaintiffs in regards to medical and
hospital expenses incurred as a result of the incident hereinafter describes. BlueCross BlueShield
of Illinois may claim a subrogated interest in this action and is joined as an Involuntary Plaintiff
in this matter for purposes of addressing the same.

       4.      Defendant, Jordan Walber, is an adult individual, upon information and belief,
residing at 21 County Road ZZ S, Amherst Junction, Wisconsin 54407.

       5.      Defendant, Penske Leasing and Rental Company (hereinafter “Penske”), is a
domestic corporation with its principal place of business located at 1420 W Main Avenue, De
Pere, Wisconsin 54115.

       6.      Defendant, Old Republic Insurance Company, is a foreign insurance company
with its principal office located at 631 Excel Drive, Suite 200, Mt. Pleasant, Pennsylvania 15666.
At all times material hereto, Old Republic Insurance Company had a policy of liability insurance


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with Penske Leasing and Rental Co. and Jordan Walber affording coverage for the incident and
claims involved in this action.

        7.      Upon information and belief, Defendant, ABC Insurance Company, is a foreign or
domestic insurance company doing business in the State of Wisconsin. Defendant, ABC
Insurance Company, is a fictitious name for the actual Defendant whose name is unknown to the
Plaintiff, but is made a proper party to this action, pursuant to Wisconsin Statute § 807.12. At
times material hereto, Defendant, ABC Insurance Company, had in full force and effect a policy
of liability insurance with the Defendant, Jordan Walber, affording coverage with respect to the
incident described herein.

                             FIRST CAUSE OF ACTION - NEGLIGENCE

        8.      Plaintiffs reallege and incorporate herein paragraphs 1 through 7 above as though
fully set forth herein.

        9.      On August 23, 2021, at approximately 12:39 p.m., Jimmie R. Hubert was
operating his vehicle northbound on Rose Street in the right lane when he stopped for a red light
at the intersection with George Street in the city of La Crosse, Wisconsin. At that same time and
place, Jordan Walber was operating a Penske Truck, on behalf of Penske and/or as an employee
of Penske, also traveling northbound on Rose Street in the right lane when he struck and collided
with the rear of the Hubert vehicle.
        10.     That at that said time and place, Defendants, Jordan Walber and Penske, through
the actions o f their employee and agent, Jordan Walber, were negligent in the operation of the
motor vehicle by Walber with such acts of negligence including, but not limited to, the
following: i) failing to exercise proper lookout; ii) failing to exercise proper management and
control of his vehicle; iii) failing to operate his vehicle at a prudent speed; and iv) inattentive
driving pursuant to Sec. 346.89 (1), Wis. Stats, and in other respects as well.
        11.     That as a result of the negligence of the Defendants, Jordan Walber and Penske,
previously described herein, a violent impact occurred between the Plaintiffs and Defendants’
vehicle causing the Plaintiff, Jimmie Hubert, to sustain significant and severe injuries to his
neck, back and other portions of his anatomy, including emotional distress, all of which injuries
necessitated medical care and treatment and caused the Plaintiff, Jimmie Hubert, to have pain,
suffering and disability. Plaintiff, Jimmie Hubert, believes his injuries are of a permanent nature.


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        12.     That Defendants negligence was a substantial factor in producing all of the
Plaintiffs above named injuries.
              SECOND CAUSE OF ACTION - JANEL’S LOSS OF CONSORTIUM
        13.     Plaintiffs reallege and incorporate paragraphs 1 through 12 above as if fully set
forth herein.
        14.     Further., as a direct and proximate result of the aforementioned accident and acts
of negligence of Defendants, Plaintiff, Janel Hubert, wife of Jimmie R. Hubert, has suffered a
loss of society, companionship and consortium and will continue to suffer a loss of society,
companionship and consortium into the future. Further, Janel Hubert suffered a loss of services
of her husband and related economic losses and expenses including medical and related
expenses.
        WHEREFORE, Plaintiffs demand judgment against Defendants as follows:

                A.     For compensatory damages for Plaintiff, Jimmie Hubert, in a reasonable
                       amount;

                B.     For compensatory damages for Plaintiff, Janel Hubert, in a reasonable
                       amount;

                 C.    For their costs, disbursements and allowable attorney’s fees herein; and

                D.     For such other and further relief as the Court deems just and equitable.

Dated this        day of January, 2023.



                                       FITZPATRICK, SKEMP & BUTLER, LLC
                                       Attorneys forPMnJjips\ * /



                                       By?
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